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             ATTACHMENT 1
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ST-9909
Designation List Report




             Shekel, Tomer                                2022-11-22



             Sonos Aﬀirmatives                               00:00:15
             TOTAL RUN TIME                                 00:00:15




                                                                             ID: ST-9909
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                                                ST-9909
DESIGNATION      SOURCE                                                         DURATION             ID

 99:09 - 99:11   Shekel, Tomer 2022-11-22                                          00:00:06      ST-9909.1
                 99:09     MR. GROSBY: Q. Would you say it's an
                 99:10     important feature for the music playback to not be
                 99:11     disturbed while you set up new groups?
 99:13 - 99:16   Shekel, Tomer 2022-11-22                                          00:00:10      ST-9909.2
                 99:13     THE WITNESS: In my opinion, if by setting a
                 99:14     group, you'll now be stopping the music a person
                 99:15     played, that would not be a great experience for that
                 99:16     user.



                    Sonos Aﬀirmatives                                           00:00:15
                    TOTAL RUN TIME                                            00:00:15




                                             Sonos Aﬀirmatives                                               2/2
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ST-10912
Designation List Report




             Shekel, Tomer                                2022-11-22



             Sonos Aﬀirmatives                               00:00:18
             TOTAL RUN TIME                                 00:00:18




                                                                            ID: ST-10912
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                                                    ST-10912
DESIGNATION       SOURCE                                                              DURATION           ID

109:12 - 109:13   Shekel, Tomer 2022-11-22                                             00:00:06     ST-10912.1
                  109:12    would it be a poor user experience to
                  109:13    limit speakers to just one group?
109:15 - 109:19   Shekel, Tomer 2022-11-22                                             00:00:12     ST-10912.2
                  109:15    THE WITNESS: In -- in our -- in our
                  109:16    approach, in the Google Cast approach, if we were to
                  109:17    have only option that every speaker can only be part
                  109:18    of one group, I -- I would think it's a -- it's a poor
                  109:19    user experience, yes.



                     Sonos Aﬀirmatives                                               00:00:18
                     TOTAL RUN TIME                                                  00:00:18




                                                 Sonos Aﬀirmatives                                               2/2
